


THIS OPINION HAS NO PRECEDENTIAL VALUE




THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(1), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        The State, Respondent,
      
    
  

v.

  
    
      
        Akisha S. Cornwell, Appellant.
      
    
  


Appeal From York County
John C. Hayes, III, Circuit Court Judge

Unpublished Opinion No. 2005-UP-250
Submitted April 1, 2005  Filed April 7, 2005

APPEAL DISMISSED
  



  
    
      
        Acting Deputy Chief Attorney Wanda P. Hagler, of Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Thomas E. Pope, of York, for Respondent.
      
    
  

PER CURIAM:&nbsp; Akisha S. Cornwell appeals her conviction for resisting arrest arguing the trial judge erred in allowing the State to exercise a peremptory challenge in a discriminatory manner.&nbsp; Cornwells counsel attached to the final brief a petition to be relieved as counsel, stating she had reviewed the record and concluded this appeal lacks merit.&nbsp; After a thorough review of the record and counsels brief pursuant to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss[1] the appeal and grant counsels petition to be relieved.
APPEAL DISMISSED.
HEARN, C.J. and KITTREDGE and WILLIAMS, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

